    Case 3:16-cv-00438-JR       Document 822    Filed 04/13/20    Page 1 of 7




ERIN E. SCHNEIDER (Cal. Bar No. 216114)
SHEILA E. O'CALLAGHAN (Cal. Bar No. 131032)
  ocallaghans@sec.gov
ANDREW J. HEFTY (Cal. Bar No. 220450)
 heftya@sec.gov
BERNARD B. SMYTH (Cal. Bar No. 217741)
 smythb@sec.gov


Attorneys for Plaintiff
SECURITIES AND EXCHANGE COMMISSION
44 Montgomery Street, Suite 2800
San Francisco, California 94104
Telephone: (415) 705-2500
Facsimile: (415) 705-2501

                          UNITED STATES DISTRICT COURT

                              DISTRICT OF OREGON

                               PORTLAND DIVISION



SECURITIES AND EXCHANGE COMMISSION,            Case No. 3:16-CV-00438-JR

            Plaintiff,
                                               FINAL JUDGMENT AS TO AEQUITAS
      vs.                                      lvIANAGEMENT, LLC; AEQUITAS
                                               HOLDINGS, LLC; AEQUITAS
AEQUITAS lvIANAGEMENT, LLC; AEQUlTAS           COMMERCIAL FINANCE, LLC;
HOLDINGS, LLC; AEQUITAS COMMERCIAL             AEQUITAS CAPITAL MANAGEMENT,
FINANCE, LLC; AEQUITAS CAPITAL                 INC.; AND AEQUITAS INVESTMENT
MANAGEMENT, INC.; AEQUITAS INVESTMENT          MANAGEMENT, LLC
MANAGEMENT, LLC; ROBERT J. JESENIK;
BRIAN A. OLIVER; and N. SCOTT GILLIS,

            Defendants.
     Case 3:16-cv-00438-JR              Document 822         Filed 04/13/20        Page 2 of 7




        The Securities and Exchange Commission having ftled a Complaint and Defendants

Aequitas Management, LLC, Aequitas Holdings, LLC, Aequitas Commercial Finance, LLC,

Aequitas Capital Management, Inc. and Aequitas Investment Management, LLC (collectively,

"Entity Defendants") having entered a general appearance by and through their Court-appointed

Receiver; consented to the Court's jurisdiction over Entity Defendants and the subject matter of

this action; consented to entry of this Final Judgment as to Aequitas Management, LLC,

Aequitas Holdings, LLC, Aequitas Commercial Finance, LLC, Aequitas Capital Management,

Inc., and Aequitas Investment Management, LLC ("Judgment") without admitting or denying the

allegations of the Complaint (except as to jurisdiction); waived fmdings of fact and conclusions

of law; and waived any right to appeal from this Judgment.

                                                      I.

       IT IS HEREBY ORDERED that Defendants Aequitas Management, LLC, Aequitas

Holdings, LLC, Aequitas Commercial Finance, LLC, Aequitas Capital Management, Inc. and

Aequitas Investment Management, LLC are permanently restrained and enjoined from, directly

or indirectly, in the offer or sale of any securities, by the use of any means or instruments of

transportation or communication in interstate commerce or by the use of the mails:

               A. Employing any device, scheme or artifice to defraud;

               B. Obtaining money or property by means of any untrue statement of a material

                   fact or any omission to state a material fact necessary in order to make the

                   statements made, in light of the circumstances under which they were made,

                   not misleading; or

               C. Engaging in any transaction, practice, or course of business which operates or

                   would operate as a fraud or deceit upon the purchaser;

in violation of Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a).

       IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this order


FINAL ruDGMENT AS TO AEQUITAS ENTITIES
                                                  I
     Case 3:16-cv-00438-JR             Document 822           Filed 04/13/20       Page 3 of 7




by personal service or othe1wise: (a) Entity Defendants' officers, agents, servants, employees,

and attorneys; and (b) other persons in active concert or participation with Entity Defendants or

with anyone described in (a).

                                                 II.

       IT IS FURTHER ORDERED that Defendants Aequitas Management, LLC, Aequitas

Holdings, LLC, Aequitas Commercial Finance, LLC, Aequitas Capital Management, Inc. and

Aequitas Investment Management, LLC are permanently restrained and enjoined from, directly

or indirectly, in connection with the purchase or sale of any security, by the use of any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange:

               A. Employing any device, scheme or artifice to defraud;

               B. Making any untrue statement of a material fact or omitting to state a material

                   fact necessary in order to make the statements made, in light of the

                   circumstances under which they were made, not misleading; or

               C. Engaging in any act, practice, or course of business which operates or would

                   operate as a fraud or deceit upon any person;

in violation of Section lO(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule l0b-5

thereunder, 17 C.F.R. § 240.lOb-5.

       IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this order

by personal service or otherwise: (a) Entity Defendants' officers, agents, servants, employees,

and attorneys; and (b) other persons in active conceit or paiticipation with Entity Defendants or

with anyone described in (a).

                                                       Ill.

       IT IS FURTHER ORDERED that Defendants Aequitas Capital Management, Inc. and

Aequitas Investment Management, LLC are permanently restrained and enjoined from, directly


FINAL JUDGMENT AS TO AEQUITAS ENTITIES
                                 2
     Case 3:16-cv-00438-JR            Document 822           Filed 04/13/20        Page 4 of 7




or indh-ectly, in connection with the purchase or sale of any security, by the use of any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange:

               A. Employing any device, scheme or artifice to defraud any client or prospective

                   client;

               B. Engaging in any transactions, practices, or courses of business which operate
                   as a fraud or deceit upon any client or prospective client;

               C. Engaging in any act, practice, or course of business which is fraudulent,

                   deceptive, or manipulative;

               D. Making any untrue statement of a material fact or omitting to state a material

                   fact, necessary to make the statements made, in the light of the circumstances

                   under which they were made, not misleading, to any investor or prospective

                   investor in a pooled investment vehicle; or

               E. Engaging in any act, practice, or course of business that is fraudulent,

                   deceptive, or manipulative with respect to any investor or prospective investor

                   in a pooled investment vehicle;

in violation of Sections 206(1), 206(2), and 206(4) of the Advisers Act, 15 U.S.C. §§ 80b-6(1),

(2) & (4); and Rule 206(4)-8 thereunder, 17 C.F.R. §275.206(4)-8.

       IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this order

by personal service or otherwise: (a) Entity Defendants' officers, agents, servants, employees,

and attorneys; and (b) other persons in active conceit or patticipation with Entity Defendants or

with anyone described in (a).

                                                 IV.

       IT IS FURTHER ORDERED that Defendants Aequitas Management, LLC; Aequitas

Holdings, LLC; Aequitas Commercial Finance, LLC; Aequitas Capital Management, Inc.; and


FINAL JUDGMENT AS TO AEQUITAS ENTITIES
                                 3
     Case 3:16-cv-00438-JR              Document 822           Filed 04/13/20        Page 5 of 7




Aequitas Investment Management, LLC, are permanently restrained and enjoined from directly

or indirectly participating in the issuance, offer, or sale of any security of any entity controlled

by, or under joint control with, any of them.

       IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65( d)(2), the foregoing paragraph also binds the following who receive actual notice of this order

by personal service or otherwise: (a) Entity Defendants' officers, agents, servants, employees,

and attorneys; and (b) other persons in active conceit or patticipation with Entity Defendants or

with anyone described in (a).

                                                        V.

       IT IS FURTHER ORDERED that Defendants Aequitas Management, LLC; Aequitas

Holdings, LLC; Aequitas Commercial Finance, LLC; Aequitas Capital Management, Inc.; and

Aequitas Investment Management, LLC, are permanently restrained and enjoined from directly

or indirectly soliciting any person or entity to purchase or sell any security, except for the

activities of the Coutt- appointed Receiver necessary to carry out his responsibilities under the

Receivership order issued by the Court in this matter.

       IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this order

by personal service or otherwise: (a) Entity Defendants' officers, agents, servants, employees,

and attorneys; and (b) other persons in active concert or patticipation with Entity Defendants or

with anyone described in (a).
                                                  VI.

       IT IS HEREBY FURTHER ORDERED, ADillDGED, AND DECREED that the Entity

Defendants are liable, jointly and severally, for disgorgement of $453,000,000.00 with

prejudgment interest of $87,048,072.87 as a result of the conduct alleged in the Complaint,

which shall be deemed satisfied by the amount collected by the Court-appointed Receiver in this

matter and ultimately distributed pursuant to the Court-approved distribution plan.. If a portion

FINAL JUDGMENT AS TO AEQUITAS ENTITIES
                                                   4
      Case 3:16-cv-00438-JR             Document 822          Filed 04/13/20       Page 6 of 7




of the receivership assets subject to disgorgement are not to be distributed, the Commission shall

send the funds paid pursuant to this Final Judgment to the United States Treasury. The Receiver

may transmit payment electronically to the Commission, which will provide detailed ACH

transfer/Fedwire instructions upon request. Payment may also be made directly from a bank

account via Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm. The

Receiver may also pay by certified check, bank cashier's check, or United States postal money

order payable to the Securities and Exchange Commission, which shall be delivered or mailed to


Enterprise Services Center
Accounts Receivable Branch
6500 South MacArthur Boulevard
Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; the Entity Defendants as defendants in this action; and specifying that payment is

made pursuant to this Final Judgment.


                                                 VII.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Entity

Defendants shall comply with all of the undertakings and agreements set forth therein.



                                                VIII.
       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this inatter for the purposes of enforcing the terms of this Judgment.




FINAL JUDGMENT AS TO AEQUITAS ENTITIES
                                 5
     Case 3:16-cv-00438-JR             Document 822          Filed 04/13/20       Page 7 of 7




                                                 IX.
         There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ORDERED to enter this Judgment forthwith and without further notice.



IT IS SO ORDERED:


Dated:    "'{f   1,      ,2020




FINAL ITJDGJ1.,1ENT AS TO AEQUITAS ENTITIES
                                                 6
